Case 1:20-cv-00189-JSR Document 69-7 Filed 07/21/20 Page 1 of 4




                   Exhibit G
               Case 1:20-cv-00189-JSR Document 69-7 Filed 07/21/20 Page 2 of 4



                                                                                   PATENT
                                                           ATTORNEY DOCKET NO.: 056100-5038



                   IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

       In re Application of:

              Chiu-shiueYan et al.                               Confirmation No.: not yet assigned

       Application No.: not yet assigned                         Group Art Unit: not yet assigned

       Filed: July 13,2004                                       Examiner: not yet assigned

       For:   ANNEALING SINGLE CRYSTAL
              CHEMICAL VAPOR DEPOSITION
              DIAMONDS

       Commissioner for Patents
       U.S.Patent and Trademark Office
       220 20th Street S.
       Customer Window
       Crystal Plaza Two,Lobby,Room 1B03
       Arlington,VA 22202


                                DECLARATION UNDER 37 C.F.R.1.132

       1. The undersigned are Russell Hemley who is a Senior Staff Scientist at the Carnegie
          Institution of Washington,Ho-Kwang (Dave) Mao who is Senior Staff Scientist at the
          Carnegie Institution of Washington and Chih-Shiue Yan who is a Research Scientist at the
          Carnegie Institution of Washington (hereinafter "Carnegie").


       2. Dr. Wei Li is a former colleague who worked with Russell Hemley and Dave Mao at
          Carnegie on High Pressure High Temperature (hereinafter "HPHT")diamond synthesis from
          March 1996 to January 1998.


       3. Dr.Li went to work for the national laboratories in Los Alamos,New Mexico after leaving
          Carnegie.


       4. By May 2002,Carnegie had produced over 50 single crystal diamonds via microwave plasma
          CVD. Dr.Wei Li had nothing to do with the production of these diamonds. By this time,we



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                                                 Exhibit G                           dT2:20 470 ET    inc
                                                 Page 1 of 3
               Case 1:20-cv-00189-JSR Document 69-7 Filed 07/21/20 Page 3 of 4



                                                                                     PATENT
                                                             ATTORNEY DOCKET NO.: 056100-5038


          had already determined that the single crystal CVD diamonds had discoloration and defects,
          which might be reduced by HPHT annealing in view of previous literature,such as by I.M.
          Reinitz et al. Gems & Gemology 36,128-137 (2000). Further,we believed that other
          physical properties of the single crystal CVD diamonds could be enhanced by HPHT
          annealing.

       5. In April 2002,we contacted Dr.Li to request that he perform HPHT annealing processes on
          the single crystal CVD diamonds that were produced at Carnegie because we knew that he
          had the equipment necessary to perform HPHT annealing. At that time,Dr.Li was working
          at Phoenix Crystal Corporation. It is not uncommon in the scientific community to request
          tests or further processings from other people in the interest of obtaining corroborating
          results. We sent three single crystal CVD diamonds to Dr.Li so that he could perform
          HPHT annealing on the single crystal CVD diamonds. In accordance with our directions,Dr.
          Li performed HPHT annealing on our single crystal CVD diamonds. These diamonds were
          returned about a week later. The color enhancement was not readily apparent because of a
          heavy yellow tint in the seed diamonds and a larger sampling of different single crystal CVD
          diamonds was also deemed necessary.


       6. In May 2002,we sent eight single crystal CVD diamonds to Dr.Li. We directed him to
          anneal these single crystal CVD diamonds at higher temperatures. Dr.Li was in constant
          contact with us during the HPHT annealing of these single crystal CVD diamonds. All of the
          HPHT annealing processes done on Carnegie's single CVD diamonds wcre done at our
          direction. Dr.Li did not return the samples for about three months. Dr Li explained that he
          had sent the samples to companies and friends for evaluation. However,Dr.Li refused to tell
          us where he sent our diamonds.


       7. In August 2002,we received the HPHT annealed single crystal diamonds from Dr.Li and
          sent them to Los Alamo National Laboratory for tests. We received the results of the tests by
          May 2003. Subsequently,a paper was written entitled "Ultrahard single-crystal diamond
          from chemical vapor deposition" regarding the results of the test done at the Los Alamo
          National Laboratory. Dr.Li was listed on this paper in gratitude for performing the HPHT
          annealing on the single crystal CVD diamonds. We filed the paper as a provisional U.S.
          patent application on July 14,2003. Subsequently,the paper was published in February.
          2004.




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                                                  Exhibit G                              0122:20 1,0 ET   Inc.
                                                  Page 2 of 3
        Case 1:20-cv-00189-JSR Document 69-7 Filed 07/21/20 Page 4 of 4



                                                                             PATENT
                                                     ATTORNEY DOCKET NO.: 056100-5038




8. We have read U.S.Patent Application Publication 2003/0230232 of U.S.patent application
   serial number 10/161,266. We believe the single crystal CVD diamond mentioned in U.S.
   Patent Application Publication 2003/0230232 to be one of the diamonds provide to Dr.Li by
   us because of the description of the diamond at paragraph 100201 in the publication. Further,
   we know of no other source that could provide Dr.Li with such diamonds. We believe that
   the HPHT annealing processes discussed in U.S.Patent Application Publication
   2003/0230232 are processes we directed Dr.Li to carry out because they are similar to the
   HPHT processes that we asked Dr.Li to perform. Dr.Li never informed us that he filed the
   U.S.patent application serial number 10/161,266 even though we had extensive contact with
   Dr.Li prior to and after the filing of this U.S.patent application. We have no pertinent
   knowledge of Robert H.Frushour who is listed as an inventor in U.S.Patent Application
   Publication 2003/0230232.


9. We further declare that all statements made herein of our own knowledge are true,and that all
   statements made on information and belief are believed to be true; and further that these
   statements were made with the knowledge that willful false statements and the like so made
   are punishable by fine or imprisonment,or both,under Section 1001 of Tile 18 of the United
   States Code,and that such willful false statements mayjeopardize the validity of the above-
   referenced patent.




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                             Chih-shiue Yan                               Date




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                                           Exhibit G                              d22:20 ',a et TrIC
                                           Page 3 of 3
